  AppellateCase:
 Appellate  Case:16-4040
                  16-4040 Document:
                           Document:01019602380
                                     01019602396 Date
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                                   UNITED STATES COURT OF APPEALS
                                       FOR THE TENTH CIRCUIT

                           Entry of Appearance and Certificate of Interested Parties


 THE SCO GROUP, INC., by and through the
 Chapter 11 Trustee in Bankruptcy, Edward N.                   Case No. 16-4040
 Cahn, Plaintiff/Appellant
                                                              District Court. No. 2:03-CV-00294-DN
 v.

 INTERNATIONAL BUSINESS
 MACHINES CORPORATION,
 Defendant/Appellee.


INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM,
INDICATING METHOD(S) OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR A
PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR APPEARANCES
ON THE SAME FORM BY EACH SIGNING INDIVIDUALLY.

         In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear as counsel for
International Business Machines Corporation, Defendant/Appellee, in the subject case.

           Further, in accordance with 10th Cir. R. 46.1, the undersigned certifies as follows: (Check one.)

          On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
           disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
           counsel should not include in the certificate any attorney or party identified immediately above.

          There are no such parties, or any such parties have heretofore been disclosed to the court.


Amy F. Sorenson                                               Amber M. Mettler
Name of Counsel                                               Name of Counsel

/s/ Amy F. Sorenson                                           /s/ Amber M. Mettler
Signature of Counsel                                          Signature of Counsel

Snell & Wilmer L.L.P.                                         Snell & Wilmer L.L.P.
15 W. South Temple, Suite 1200                                15 W. South Temple, Suite 1200
Salt Lake City, Utah 84101                                    Salt Lake City, Utah 84101
Tel: (801) 257-1900                                           Tel: (801) 257-1900
Mailing Address and Telephone Number                          Mailing Address and Telephone Number

asorenson@swlaw.com                                           amettler@swlaw.com
E-Mail Address                                                E-Mail Address

A-5 Entry of Appearance Form 10/09
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Evan R. Chesler                            David Marriott
Name of Counsel                            Name of Counsel

/s/ Evan R. Chesler                        /s/ David Marriott
Signature of Counsel                       Signature of Counsel

Cravath, Swaine & Moore, LLP               Cravath, Swaine & Moore, LLP
Worldwide Plaza                            Worldwide Plaza
825 Eighth Avenue                          825 Eighth Avenue
New York, New York 10019                   New York, New York 10019
Tel: (212) 474-1000                        Tel: (212) 474-1000
Mailing Address and Telephone Number       Mailing Address and Telephone Number

echesler@cravath.com                       dmarriott@cravath.com
E-Mail Address                             E-Mail Address




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                                       CERTIFICATE OF SERVICE

           I hereby certify that on April 13, 2016, a copy of the foregoing Entry of Appearance and

Certificate was served via the Court’s electronic filing system, and e-mail, to the following:

           Stuart Singer
           BOIES, SCHILLER & FLEXNER LLP
           401 East Las Olas Blvd., Suite 1200
           Fort Lauderdale, FL 33301
           ssinger@bsfllp.com

           Attorney for The SCO Group, Inc.

           Edward Normand
           Jason Cyrulnik
           BOIES, SCHILLER & FLEXNER LLP
           333 Main Street
           Armonk, NY 10504
           enormand@bsfllp.com
           jcyrulnik@bsfllp.com

           Attorneys for Plaintiff/Appellant The SCO Group, Inc.

                                                       /s/ Amber M. Mettler




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 INTERNATIONAL BUSINESS
 MACHINES CORPORATION.

                                     Certificate of Interested Parties



       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

           Attorneys:

           Alan L. Sullivan
           Snell & Wilmer L.L.P.
           15 W. South Temple, Suite 1200
           Salt Lake City, Utah 84101

           Thomas G. Rafferty
           Roger G. Brooks
           Cravath, Swaine & Moore, LLP
           Worldwide Plaza
           825 Eighth Avenue
           New York, New York 10019

           Peter H. Donaldson (formerly of Snell & Wilmer L.L.P (address above))
           Durham Jones & Pinegar
           111 E. Broadway, Suite 900
           Salt Lake City, Utah 84111

           Judge Todd M. Shaughnessy (formerly of Snell & Wilmer L.L.P. (address above))
           Third District Court
           450 S. State Street
           Salt Lake City, Utah 84114




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                                                                          Page:5 5


           Nathan E. Wheatley (formerly of Snell & Wilmer L.L.P. (address above))
           Sage Law Partners LLC
           140 N. Union Avenue, Suite 220
           Farmington, Utah 84025

           Owen J.M. Roth (formerly of Cravath, Swaine & Moore, LLP (address above))
           Assistant United States Attorney in the Criminal Division
           501 I Street, Suite 10-100
           Sacramento, CA 95814
           Telephone: (916) 554-2700

           Michael P. Burke (formerly of Cravath, Swaine & Moore, LLP (address above))




                                   (Attach additional pages if necessary.)




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